                                                                                                                                                                                                                                                            MST093
                                                                                                                                                                       BMW013
                                                                                                                                                                                                                                                  MBW131
                                                                                                                                       Ä
                                                                                                                                       ¬1                                                                                                                            _                                                                              P4 Production, LLC
                                                                                                                                                                                                                                                                                                                                                         BALLARD RD/RA




     DRAWN BY: J. Kester
                                                                                                                                                   Ä2
                                                                                                                                                   ¬                                                                                            MWD084             0.0
                                                                                                                                                                                                                                                                      5
                                                                                                                                                                                                                                                                                                                                                        BALLARD SITE MAP
                                                                                                                                                                                MMW031                                                                                                             Ä5
                                                                                                                                                                                                                                                                                                   ¬                                                             FIGURE 1
                                                                                                                                                                                                                                                                            MMW032
                                                                                                                                                               0.05
                                                                                                                                                                                MWD080                                                           MMP039                               BMW001
                                                                                                                                                                                                                                                                                                                MBW048
                                                                                                                                                        _    MBW026 MBW027

                                                                                                                                                            MMW017                              MMP035                                                                                                                                                           μ
                                                                                                                                                                                                                                                                                                                                                            0        500      1000


                                                                                                                                                                                                                                                                                                                         Wo
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                                                                                                                                                                                                          BMW014                                                                    MST094
                                                                                                                                                                                                                                                                                                                           le
                                                                                                                                                                                                                                                                                                                            yV
                                                                                                                                                                                                                                                                                                                                                                     Feet
                                                                                                                                                                                                                                                                                                                              all




11/19/2020
                                                                                                                                                                                                                                                                                                                                ey



                                                                                                                                                             BMW012
                                                                                                                                                                                                                                                                                                                                Cr




                                                                                                                                                                                               MDS033
                                                                                                                                                                                                                                                          MWD082
                                                                                                                                                                                                                                                                                                                                    eek




                                                                                                                                       Ä3
                                                                                                                                       ¬                                                                          MWD093
                                                                                                                                                                                                                                MMP036          MMP040
                                                                                                                                                                                               MDS032                                                                                                                                             Ä5
                                                                                                                                                                                                                                                                                                                                                  ¬
                                                                                                                                                                                                MDS031             MSG003
                                                                                                                                                                                                                                                                                                           0.05
                                                                                                                                                                                                                                                                                        MMW018
                                                                                                                                                                                                        MDS030                                                                                                                                BMW002
                                                                                                                                                                                                                                                                                                                                                             MBW130          MST092
                                                                                                                                                                                                                                                                                   MST095                 MSG006
                                                                                                                                                                                                                                                                                                                                                                                        _




                                                                                                                                                                                                                  MMW001
                                                                                                                                                                                      MW-15A
                                                                                                                                                                                                                   MMW020                                                 MMW033                                   MSG007
                                                                                                                                                                      MST068                                                           MMP036                                                                                                                       Impacts above PCLs
                                                                                                                                                                                                         MMW021                                                                        MBW032
                                                                                                                                                                                                                                                                          MMW029
                                                                                                                                                                             MBW028                                                                                                                                                                              along Wooley Valley Creek
                                                                                                                                                                                                                 MMP035                                                                                           MST096
                                                                                                                                                                                                                                                                                                                                                                   extend appoximately 3
                                                                                                                                               BMW010
                                                                                                                                                                                                                            MWD083                                                                                                                                    miles downstream
                                                                                                                                                                                                                                                                                                                                     BMW003
                                                                                                                                                                      MAW008
                                                                                                                                                                                                                                                                                                           MSG009
                                                                                                                                                                                                        OU-2                                                                                                                                                                            MST090
                                                                                                                                                                                                                                                                                                                                    _




                                                                                                                                                                        Ä4
                                                                                                                                                                        ¬             MST067                                                                                MWD082
                                                                                                                                                                                                                              MMW006                             MMP037                                  0.05
                                                                                                                                      Ä4
                                                                                                                                      ¬              BMW011                           MBW011

                                                                                                                                                                                                                 MWD081
                                                                                                                                                                                                                            MST278                                        MSG004                MSG005                                                                      P4
                                                                                                                                                                                                                                                                                                                                                                         PROPERTY
                                                                                                                                                                          MBW009




                                                                                                                                  _
                                                                                                                                                                                                        MST069
                                                                                                                                                                                                                                     MMP038
                                                                                                                                                                                                                   MMW030                                                                                                            EXPLANATION




                                                                                                                                                                                                        _
                                                                                                                                                                                                                   MW-16A                                                               "
                                                                                                                                                                                                                                                                                        Ó        Monitoring well                                Water/Drainage
                                                                                                                                                                                                                                                                                        Ç   A    Seep/spring sample location                    Stream segment where surface water and/or
                                                                                                                                                BMW009
                                                                                                                                                                                                        MSG008                                                                                                                                  riparian soils/sediment PCLs are exceeded




                                                                                                                                                                  _
                                                                                                                                                                                                                                                                                            G    Surface water sample location
                                                                                                                                                                                                                                                                                                                                                Total selenium isoconcentration




                                                                                                                                                               0.05
                                                                                                                                                                                         MBW006                                                            Ä5
                                                                                                                                                                                                                                                           ¬                                     P4 property
                                                                                                                                                                                                                                                                                                                                                contour, dashed where inferred (mg/L)
                                                                                                                                                  MST066                                            5
                                                                                                                                                                                                 0.0                                                                                                                                            Borrow Source Area
                                                                                                                                      BMW008                                                                                                                                                     State of Idaho boundary
                                                                                                                                                                         BMW004                                                                                                                                                                 Approximate cap area limit
                                                                                                                                                                                                                                                                                                 Other private property
                                                                                                                                                                                                                                                                                                                                                                                            Case 4:21-cv-00092-BLW Document 8-4 Filed 05/21/21 Page 1 of 1




                                                                                                                             MST019                                                                        P4
                                                                                                                                                                                                        PROPERTY                                                                                 Private property owner ID                      Mine pit (approximate)
                                                                                                                                                              BMW005                                                                                                                             (Private property owners
                                                                                                                                                                                                                                                                                        Ä5
                                                                                                                                                                                                                                                                                        ¬        identified on separate page)
                                                                                                                                                                                                                                                                                                                                                Waste rock pile (approximate)



                                                                                                                                                 BMW007




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